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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                     Criminal No. 11-305(22)(DSD/LIB)


United State of America,

                    Plaintiff,

v.                                                                 ORDER

Caine Ramus Starks,

                    Defendant,


     This matter is before the court upon the motion by defendant

Caine Ramus Starks reduce his sentence pursuant to 18 U.S.C.

§ 3582(c)(2) and to appoint counsel.             On December 6, 2011, Starks

pleaded guilty on Count 2 of the Indictment alleging conspiracy to

distribute oxycodone, oxymorphone, and heroin, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(C), and 846, and Count 74 for using,

carrying, or possessing a firearm during and in relation to a drug

trafficking crime, in violation of 18 U.S.C. § 924(c)91)(A)(I).

     The    court    may   modify   a    term    of    imprisonment        when    the

Sentencing Commission subsequently lowers a sentencing range.                       18

U.S.C. § 3582(c).      In 2014, the Sentencing Commission promulgated

Amendment 782, which retroactively reduces the base offense level

for many drug offenses by two levels.                 See U.S.S.G. §§ 1B1.10,

2D1.1(c);   id. App.       C,   Amend.   782.     The    two-level      reduction,

however, does not allow the court to reduce a sentence to below

amended minimum guideline range.                U.S.S.G. § 1B1.10(b)(2)(A);

United States v. Marvin T. Starks, 551 F.3d 839, 842 (8th Cir.
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2009).

     At sentencing, the court determined that Starks had an offense

level of 29.    With a criminal history category of IV, Starks’

advisory guideline range of imprisonment was 121 to 151 months for

Count 2, plus a mandatory 60-month consecutive sentence for Count

74. The court varied downward and sentenced Starks to 84 months on

Count 2, plus the 60-month consecutive sentence.              After Amendment

782, Starks’ advisory guideline range of imprisonment on Count 2 is

100 to 125 months.     Starks’ sentence remains below the minimum

guideline range.     As a result, the court cannot further reduce

Starks sentence.

     Starks also asks for appointment of counsel.                  However, a

defendant has no Sixth Amendment right to counsel for a § 3582(c)

proceeding.   United States v. Brown, 565 F.3d 1093, 1094 (8th Cir.

2009).   Even if the court had discretion to appoint counsel for

Starks, it declines to do so given the straightforward nature of

the issue.

     Accordingly, based on the above, IT IS HEREBY ORDERED that the

motion for sentence reduction pursuant to 18 U.S.C. § 3582(c) and

appointment of counsel [ECF No. 1170] is denied.

Dated:   November 20, 2015


                                        s/David S. Doty
                                        David S. Doty, Judge
                                        United States District Court



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